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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                     -against-                                 NOTICE OF MOTION

ALFRED LOPEZ,
                                                              18-CR-609 (RJD)
                                         Defendant.
----------------------------------------------------------x

       PLEASE TAKE NOTICE, that upon the annexed affirmation and memorandum of

law of JOHN BURKE, ESQ., sworn to the 27th day of April, 2022, and upon the

indictment, and all other proceedings here, the defendant, ALFRED LOPEZ, will move this

Court on a date to be determined by the Court, for an Order directing:

       1.      Discovery, inspection of all materials in the possession of the Government

favorable to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963);

       2.      Disclosure of information concerning evidence available pursuant to F.R.E.

404(B) and Rule 16;

       3.      That the trial of ALFRED LOPEZ be severed from that of his co-defendants

pursuant to F.R. Cr. P. 14, 8(b);

       4.      That the defense be permitted to file further motions and join in the

motions of the co-defendants;

       5.      That the Court direct the Government to provide the defense with

expedited disclosure of trial material.
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      6.     That Counts One and Two of the indictment be dismissed or, in the

alternative, a Bill of Particulars be granted;



Dated: Brooklyn, New York
       April 27, 2022



                                                  Yours, etc.,

                                                  s/
                                                  JOHN BURKE
                                                  Attorney for Defendant
                                                   ALFRED LOPEZ
                                                  26 Court Street - Suite 2805
                                                  Brooklyn, New York 11242
                                                  (718) 875-3707




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